
      1
     Patience Solanke, Petitioner  v.  Apple Store 1683 Briargate Pkwy # 315, Colorado Springs, CO 80920; Regional Manager Kim; Store Managers Marada and Karen Nunez; Staff Tarik, Jakub and Chris; Apple, Inc. One Apple Park Way, Cupertino, CA 95014; Apple, Inc Call Center; and Jeremy Senior Apple Inc. Call Center Employee Mac Book Pro M1 Chip. Respondents No. 24SC185Supreme Court of Colorado, En BancJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1085
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    